                     Case 1:19-cv-00008-JRH-BKE Document 70 Filed 09/11/20 Page 1 of 1
                                     United States District Court
                                                Southern District of Georgia
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         $&7,1*&/(5.                                         P.O. Box 1130
                                                          AUGUSTA, GEORGIA 30903


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David Smith, Clerk                                                                            '&1XPEHU CV 119-008
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5( VANESSA ANDERSON v. WILCO LIFE INSURANCE COMPANY

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